Case 2:03-cr-20099-SH|\/| Document 98 Filed 08/26/05 Page 1 of 2 Page|D 10

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IN THE UNITED sTATES DISTRICT coURT
FOR THE wESTERN DISTRICT oF TENNESSEE
wESTERN DIvISION 05 mg 25 m G‘M‘

 

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UNITED STATES OF AMERICA, wMO¥TN'
VS. NO. 03-20099-Ma

JOH_"N K. MERRELL,

Defendant.

 

ORDER RESETTING RE*-SENTENCING DATE

 

Before the court is the defendant's August 22, 2005, motion
to reset the re-sentencing of John K. Merrell, which is presently
set for August 26, 2005. For good cause shown, the motion is

granted. The re-sentencing of defendant John K. Merrell is reset

to Friday, September 23, 2005, at 11:00 a.m.

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It is so ORDERED this day of August, 2005.

MM/ML,

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

This docl..ment entered on the docket s§?et iE compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
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Honorable Samuel Mays
US DISTRICT COURT

